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UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA

June 2007 Grand Jury

or no. o/ - 00582

UNITED STATES OF AMERICA,

INDICTMENT

Plaintiff,
Vv. [18 U.S.C. § 2251 (a):
Production Of Child
Pornography; 18 U.S.C.
§ 2252A(a) (5) (B): Possession
of Child Pornography]

RICHARD STEVE GOLDBERG,

Defendant.

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The Grand Jury charges:
COUNT ONE
[18 U.S.C. § 2251 (a)]

Beginning on or about March 10, 2001, and continuing to on
or about May 6, 2001, in Los Angeles County, within the Central
District of California, defendant RICHARD STEVE GOLDBERG
knowingly used, persuaded, induced, enticed, and coerced a minor
to engage in sexually explicit conduct, as defined in Title 18,
United States Code, Section 2256(2), for the purpose of producing
a visual depiction of such conduct, namely, a digital image of
the lascivious exhibition of the genitals and pubic area of a
five-year old girl. The visual depiction was produced using

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materials that had been mailed, shipped, and transported in
interstate and foreign commerce by any means, including by

computer.

 
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COUNT TWO
[18 U.S.C. § 2252A(a) (5) (B) ]

On or about May 6, 2001, in Los Angeles County, within the
Central District of California, defendant RICHARD STEVE GOLDBERG
knowingly possessed material, namely a computer hard drive, that
contained at least one image of child pornography, as defined in
Title 18, United States Code, Section 2256(8) (A), that had been
shipped and transported in interstate and foreign commerce by any
means, including by computer, and that had been produced using
materials that were so shipped and transported, by any means,
including by computer, knowing that the images were child
pornography.

A TRUE BILL

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Foreperson

GEORGE S. CARDONA

aited prapes Attorney
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THOMAS P. O’BRIEN
Assistant United States Attorney
Chief, Criminal Division

JENNIFER A. CORBET
Assistant United States Attorney
Organized Crime Section

 
